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EXhibit 2

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chhnology Access & License Agreement

This Technology Access and License Agreement (the “Agreement”) is made effective as
of August 15, 2012 (the “Effective l)ate”), by and between Alcoa Inc., a Pennsylvania
corporation through its Alcoa Technical Center, with offices located at 100 Technical Center
Drive, Alcoa Center, Pennsylvania 15069, and its Global Aerospace, Transportation, Industrial
and Specialty Products business unit, with offices located at 5600 North River Road, Suite 620,
Rosemont, Illinois 60018 USA (collectively, “Alcoa”), and Novelis Inc., a Canadian corporation
with offices at 3560 Lenox Road, Atlanta, -Georgia 30326 USA (“Novelis”). Alcoa and Novelis
being individually or collectively hereinafter referred to as “Party” or “Parties.”

RECITALS

WHEREAS, Alcoa is the owner of the entire right, title and interest in and to the Alcoa
Technology and Know~How for the Alcoa 951 Pretreatment Process; and

WHEREAS, Novelis desires to obtain from Alcoa access to and a license to use the
Alcoa Technology and Know-How in support of Novelis’ participation in the Ford Motor
Company P5 52 Program and Alcoa is willing to grant such access and rights to Novelis.

NOW 'l`HEREFORE, in consideration of the mutual covenants and promises contained

in this Agreement and other good and valuable consideration, the receipt and sufficiency of

, which are hereby acknowledged, and intending to be legally bound hereby, the Parties agree as
follows:

Article 1. l)efinitions. As used in this Agreement_, the following terms, whether used in the
singular or plural, shall have the following meanings:

l.l “Alcoa 951 Pretreatment Process” means an organic acid-based pretreatment
system applied to aluminum substrates via (a) Spray, immersion, or roll application methods and
Cb) the Alcoa Technology and Know-How (deflned below) for the chemical composition, coating
processes, coating~testing procedures, and assembly of aluminum sheet components in an
aluminum intensive vehicle.

1.2 “951 Chemicals” means the Alcoa proprietary chemical composition utilized in
the Alcoa 951 Pretreatment Process as set forth in the Alcoa Patents and augmented by Alcoa
Technology and Know-How.

l.3 “Alcca Patents” means United States Patent Nos. 5,463,804 and 6,167,609B1
together with all divisions, reissues, continuations, continuations in part in all corresponding
foreign applications and patents that claim any of the inventions first disclosed in the above
described patents and patent applications

1.4 “Alcoa Technology and Know~How” means the Alcoa Patents and all
proprietary trade secrets, scientific, technical and commercial data, drawings, designs, operating
experience and techniques, testing results, regulatory submissions, methods of manufacture,
specifications processes, procedures, inventions and other information of any kind of Alcoa,
now existing or developed by Alcoa during the term of this Agreement, whether patentable or

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not, as outlined in Attachment A and the details of such Alcoa Technology and KnoW~How that
will be made accessible to, disclosed and delivered to Novelis for the implementation of the
Alcoa 951 Pretreatment Process during the term of this Agreement.

1.5 “Audit Period” has the meaning set forth in Section 3.2.

1.6 “Confidential Information” means materials, trade secrets, or other intellectual
property and information, including, without liinitation, proprietary infonnation. and materials
(whether or not patentable), as may be disclosed at any time by either Party to the other Party
under this _Agreement, including, without limitation, all information constituting Alcoa
Technology and Know-How and Novelis’ disclosures made to Alcoa during the activities
contemplated under the terms and conditions of this Agreement.

1.7 “Consulting Services” has the meaning set forth in Section 3.4.1.

1.8 “Ford Motor Company P552 Program” means the design and manufacture of a
specific aluminum intensive vehicle currently identified by Ford Motor Company as the ‘P552
Program’, including the serial production and service part requirements for said P552 Program.

1.9 “Improvements” means any changes, additions, expansions, revisions,
enhancements, inventions, or developments that are made to the Alcoa Technology and
Know-How.

1.10 “Join.t Development” means any invention, development, work of authorship, or
other intellectual property jointly developed by the Parties that is not based on the Alcoa
Technology and Know-How.

1.11 v “Novelis Production Facility” shall mean its Oswego, NY_Production site.

1.12 “Novelis Trial and Testing/Non-Production Facilities” shall mean its:
(1) Kingston, Ontario facility (Lab Only), (2) Sierre, Switzerland facility (Non-Commercial
Site), (3) Walbridge, OH (MSC-Trials and Development), and (4) other Non~Commercial sites
as may be mutually agreed to by the Paities.

1.13 “Representatives” has the meaning set forth in Section 4.1.

1.14 “'I`otal Volume” means the total amount, in pounds, of coils utilizing the Alcoa
951 Pretreatment Process produced by Novelis and sold for the Ford Motor Company P552
Program.

Article 2. Grant of Access and Rights.

2.1 Technoiogy Access and License Grant. Subject to the terms and conditions of
this Agreement, Alcoa hereby agrees to provide access to its Alcoa 951 Pretreatment Process and
the Alcoa Technology and Know~How and grants to Novelis and Novelis hereby accepts a
non~exclusive, non-transferable license, without the right to grant sublicenses, under the Alcoa
951 Pretreatment Process and Alcoa Technology and Know-How, (i) to make and use in Novelis
Production Facility, and offer for sale and sell, the coils utilizing the Alcoa 951 Pretreatment

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Process during the term of this Agreement and, (ii) to make and use coils utilizing the Alcoa 951
Pretreatment Process in Novelis Trial and Testing/Non-Production Facilities. For purposes of
this Agreement, Improvements made by Alcoa to Alcoa Technology and Know-How may be
disclosed to Novelis at the sole reasonable discretion of Alcoa, provided however, Alcoa agrees
not to withhold an lmprovement when doing so would impede Novelis production

2.2 Retained Rights.

2.2.1 Subject to the license provided in Section 2.1, Alcoa retains all right, title
and interest in and to the Alcoa 951 Pretreatment Process and the Alcoa Technology and
KnoW-I-Iow, and Novelis, except as provided in Section 2.1, does not obtain any additional
license or other right, express or implied, to such Alcoa Technology and Know-How.
Notwithstanding the foregoing, Novelis shall not be prohibited from using any elements of the
methods, procedures, processes, or compositions that may be included in the Alcoa 951
Pretreatment Process to the extent that any such elements are general industry knowledge or are
anticipated and disclosed by Novelis technical and commercial data, drawings, designs,
operating experience and techniques, processes and proceduresl Any such element must be
demonstrated in writing, to have been in Novelis’ possession prior to its receipt from Alcoa; or,
is now or hereafter becomes available to the public without breach of the obligations under this
Agreement by Novelis. Notwithstanding the above, for operating experience and techniques,
these elements must be demonstrated, by affidavit, to have been in Novelis’ possession prior to
its receipt from Alcoa; or, is now or hereafter becomes available to the public without breach of
the obligations under this Agreement by Novelis. Any affidavit relied upon may be subject to
challenge by Alcoa and will not, in and of itself, be considered dispositive These exceptions
shall not be interpreted as grounds for disregarding the obligations under this Agreement merely
because the element in question is implied by, but not specifically disclosed in, general industry
knowledge, and Novelis shall have the burden of proving the applicability of` any exception

2.2.2 Subject to the terms of this Agreement, Novelis retains all right, title and
interest in and to its own technology and know~how, including but not limited to, all proprietary
trade secrets, scientific, technical and commercial data, drawings, designs, operating experience
and techniques, testing results, regulatory submissions, methods of manufacture, specifications_,
processes, procedures, inventions and other information of any kind of Novelis, now existing or
developed by Novelis during the term of this Agreement, whether patentable or not, and Alcoa
does not obtain any license or other right, express or implied, thereto to the extent that said
technology and know-how is subject to the obligations of confidentiality as provided in this
Agreement.

2.2.3 OWnership of Improvcments and Joint Developments. Each Party
shall retain its ownership rights with respect to Improvements it develops independently of the
other Party. Any lrnprovements developed jointly by the Parties shall be documented by the
Parties and shall be jointly owned by the Parties. However, the Parties agree that jointly
developed Improvements and Joint Developments will be restricted to use by the Parties and the
disclosure of such jointly developed Irnprovements or Joint Developments by either Party to
third~parties is subject to the mutual consent of the Parties. Upon termination of this Agreement
and the license granted herein, the Parties’ future rights and obligations relating to such jointly
developed Improvements and Joint Developments shall be governed by the surviving obligations

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of this Agreement and applicable patent and copyright laws; provided, however, that neither
Party shall have an accounting obligation to the other Party.

Article 3. Fees; Books of Account, Reports and Technical Support and Alcoa 951
Co_mmercialization.

3.1 Fees, Method of Payment.

3.1.1 Novelis shall pay to Alcoa, (i) within thirty days of the Effective Date an
initial lump sum payment of $100,000 USD and, (ii) during the term of this Agreernent an annual
lump sum payment of $50,000 USD on the anniversary of the Effective Date in consideration of
the license granted in Section 2.1(i), and (iii) within thirty days of the Effective Date an initial
lump sum payment of $50,000 USD in consideration of the license granted in Section 2.1(ii).

3.1.2 Novelis shall pay to Alcoa a Technology Access Fee of $0.015 per pound
of the Total Voluine (the “Teehnology Access Fee”). The Technology Access Fee shall be
payable at the time Novelis provides its quarterly reports to Alcoa in accordance With the terms
of Section 3.3 herein.

3.1.3 Payment by Novelis of any royalties hereunder does not constitute
acceptance of the amount payable to Alcoa under any such payment All payments hereunder
shall be payable in immediately available funds to an account designated by Alcoa via Electronic
Funds Transfer (EFT) or such other electronic payment form as agreed to in writing by Alcoa by
the 15th of each month following the close of the prior quaiter.

3.1.4 Notwithstanding anything to the contrary contained in this Article 3, if
Novelis is more than sixty (60) days in arrears in any payment due under this Article 3, Alcoa
may terminate this Agreement pursuant to Section 8.2 hereof. Delayed payment or non-payment
by any of Novelis’ customers shall not affect Novelis’ obligations to pay royalties to Alcoa in
accordance with the provisions of this Article 3. Neither Party shall have the right to set off any
amounts due to such Party under this Agreemen,t against any amount payable by such Party
under any other agreement between the Parties'.

3.1.5 Novelis shall collect, report and pay to the relevant taxing authority, and
indemnify Alcoa for any liability relating to all applicable excise, property, sales and use or
similar taxes, in addition to or in lieu thereof All royalty payments are payable in full to Alcoa
without deduction and without withholding for any tax whatsoever. Alcoa is responsible for
paying taxes on any income it receives from Novelis in the form of fees or royalties under this
Agreement.

3.1.6 If Alcoa incurs any costs, expenses, or fees, including reasonable
attorneys’ fees and professional collection services fees, in connection with the collection of any
royalties sixty (60) days overdue under this Agreement, Novelis agrees to reimburse Alcoa for
all such costs, expenses and fees.

3.2 Books of Account. Novelis shall at all times keep separate, adequate and
accurate books of account and records directly related to the license hereby granted in
accordance With good accounting practice showing the Total Volume upon which the

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Technology Access Fee is calculated During each calendar year of this Agreement and for two
(2) years after expiration or other termination of this Agreernent (the “‘Audit Period”), Alcoa has
the right to appoint a nationally recognized independent public accounting firm reasonably
agreeable to Novelis (the “Accounting Firm”) during Novelis’ normal business hours, and upon
reasonable notice to Novelis, to inspect and audit said books of account and records and all other
documents, materials and inventory in the possession or under the control of Novelis solely with
respect to books and records directly related to the calculation of the Technology Access Fee (the
“Audit Materials”). T he Accounting Firm shall have access to the Audit Materials for the
previous twenty-four (24) months for said purposes, and Novelis shall maintain the Audit
Materials throughout the Audit Period; provided, however, Novelis may redact information from
the Audit Materials not directly related to the coils utilizing the Alcoa 951 Pretreatment Process.
Alcoa acknowledges and agrees that is shall not have any access to the Audit Materials during
the Audit Period or at any other time during the term of this Agreement. Pn'or to the
commencement of any audit, the Accounting Firm shall acknowledge in Writing the restriction in
the previous sentence The Accounting Firm shall provide a report regarding the audit to Alcoa,
but the report shall not include any Audit Materials Such inspection and audit by the Accounting
Firm may be made not more often than once every calendar year and at Alcoa’s own expense;
provided, however, that to the extent such audit reveals that Novelis underpaid the amount of
royalties due to Alcoa by five percent (5%) or more in any one (l) quarterly reporting period, all
reasonable expenses (including reasonable attorney’s fees and collection costs) in connection
with such audit shall be borne by Novelis. If any inconsistencies or mistakes are discovered in
any royalty statements, the same shall be immediately rectified and the appropriate payments
made by Novelis or, in the case of overpayments that are to be refunded to Novelis, by Alcoa,
together with interest thereon at the prime rate announced by the principal bank of Alcoa as its
prime commercial lending rate from time to time.

3 .3 Reports.

3.3.1 Throughout the term of this Agreement, Novelis shall make quarterly
reports to Alcoa on or before the last day of April, July, October, and January, showing the Total
Volume for the preceding calendar quarter, and the royalty payable to Alcoa pursuant to
Section 3.1. Such reports shall set forth reasonably detailed information showing the coils
utilizing the Alcoa 951 Pretreatrnent Process produced by Novelis and sold in support of the
Ford Motor Company P552 Program and a calculation of the applicable royalties1 all for the
previous quarterly period. The fees payable by Novelis to Alcoa will accompany such quarterly
reports Receipt or acceptance by Alcoa of any statements furnished pursuant to this Agreement
or of any sums paid hereunder shall not preclude Alcoa from questioning the correctness thereof
at any time.

3.3.2 Novelis will make yearly reports on a calendar basis to Alcoa on or before
the last day of January of each contract year stating the Total Volurne or all coils utilizing the
951 Pretreatment Process Produced and sold in support of the Ford Motor Company P552
Program.

3.4 Technical Support.

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3.4.1 Alcoa agrees to provide to Novelis, at Novelis’ request, technical support
and advice (“Consulting Services”) for the implementation of Alcoa Technology and
Know-How at Novelis Production Facility subject to the following provisions: (i) Novelis shall
reimburse Alcoa for reasonable travel expenses associated with the Consulting Services, and
(ii) Alcoa shall provide up to a total of 60 person days (consisting of 8 hours per day) of such
Consulting Services during the first year of the Agreement, and (iii) up to a total of 30 person
days each year for the remaining term of the Agreement.

3.4.2 Alcoa agrees to provide to Novelis, at Novelis’ request, Consulting
Services for the implementation of Alcoa Technology and Know-How at Novelis Trial and
Testing/Non-Production Facilities subject to the following provisions: (i) Novelis shall
reimburse Alcoa for reasonable travel expenses associated with the Consulting Services, and
(ii) Alcoa shall provide up to a total of 30 person days (consisting of 8 hours per day) of such
Consulting Services during the first year of the Agreement.

3.4.3 Alcoa may agree to provide additional technical support to Novelis in
addition to the Consulting Services provided under Section 3.4.1, at Novelis’ request and in
Alcoa’s sole discretion, subject to Alcoa’s terms and conditions for the provision of consulting
services as mutually agreed to by the Parties..

3.4.4 Subject to Paragraph 3.5, Alcoa agrees to supply the 951 Chemicals to
Novelis in a form and manner sufficient for high volume production by Novelis, subject to
Alcoa’s terms and conditions of sale as mutually agreed by the Parti.es. In the event of a conflict
between the terms and conditions of this Agreement and any Alcoa terms and conditions, the
terms of this Agreement shall govern and control. Alcoa agrees to provide 951 Chemicals, such
steps to include, mixing chemicals internally or establishing a third-party chemical compounder
to provide the 951 Chemicals to No velis 011 behalf of Alcoa, consistent with the requirements of
this agreement In the event that Alcoa cannot provide the 951 Chemicals to Novelis as required
in this Agreement, then Alcoa will promptly notify Novelis in writing of its inability to supply
951 Chemicals. Novelis may take action to satisfy its supply obligations to Ford, including (i)
manufacturing the 951 Chemicals, or (ii) having the 951 Chemicals manufactured by a third
party. Alcoa will use commercially reasonable efforts to ensure that Novelis can satisfy its
production requirements and supply obligations to Ford., including without limitation, a waiver of
the restrictions in Section 4.4. The remedy provided in this Section 3.4.4 shall only be available
to Novelis for so long as Alcoa’s failure to supply the 951 Chemicals continues lt is estimated
that the 2012 per gallon price of 951 Chemicals supplied by Alcoa will be less than $5.00, (the
“Price”) which equates to a chemical treatment pricing (independent of any fees) of about $0.002
/ pound of metal. If there is a material difference between the actual application rates or costs of
the 951 Chemicals and the rates or costs estimated herein for purchases from Alcoa, the Parties
agree to meet and negotiate in good faith regarding an adjustment of the Price.

3.5 Alcoa 951 Commercialization.

3.5.1 Alcoa is exploring the broad-based commercialization of its Technology
and Know-l-Iow through a licensed third-party chemical supplier. In the event of such
commercialization, Alcoa agrees to notify Novelis as per Paragraph 9.4 and the Parties agree that
the following terms and conditions of this Agreement will be suspended: Article 3.1.1 (ii) ( the

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annual lump sum of $50,000), Article 3.1.2 (Technology Access Fee); and Article 3.4 ('feclmical
Support); however, Alcoa may agree to provide additional technical support to Novelis at
Novelis’ request and in Alcoa’s sole reasonable discretion, subject to Alcoa’s standard terms and
conditions for the provision of consulting services. The Parties acknowledge that upon said third-
party commercialization of the Alcoa Technology and Know-How, market forces will dictate the
price charged by said third-party for access to the 951 Chemicals and Alcoa Technology and
Know-HO`W. Alcoa will make commercially reasonable efforts to ensure that Novelis is not
disadvantaged relative to any other competitor in any agreement between Alcoa and such third-
party commercializing the Alcoa Technology and Know~How.

Article. 4. Confidentiality, Non-Analysis & Non-Solicitation

4.1 Each Party shall maintain the Confrdential Information disclosed to it by the other
Party in confidence, and shall not disclose_. divulge or otherwise communicate such Confidential
Information to others, or use it for any purpose, except to fulfill its obligations hereunder, and
hereby agrees to exercise every reasonable precaution to prevent and restrain the unauthorized
isclosure of Contidential Information by any of its directors, officers, employees, consultants,
subcontractors, or agents (“Representatives”). Prior to disclosure of Confrdential Infonnation
to Novelis’ Representatives, Novelis will enter into written agreements with such parties that
contain restrictions on the disclosure of Contidential Information that are at least as restrictive as
the terms and conditions of this Article 4, if the Representatives are not already bound by such a
written agreement Each Party will be responsible for any breach of this Agreement by its
Representatives. Each. Party also agrees to maintain the Contidential lnformation and the terms
and conditions of this Agreement in confidence in accordance with this Section 4.1 for so long as
this Agreernent remains in full force and effect

4.2 The provisions of Section 4.1 shall not apply to any Confidential Inforination
disclosed hereunder or during the terms of this Agreement which: (i) can be demonstrated to
have been in the receiving party’s possession at the time of receipt of same; (ii) now or hereafter
becomes available to the public without breach of this Agreement by the receiving Party; (iii)
becomes available to the receiving Party from a third party having the legal right to disclose such
information to the receiving Party; (iv_) the receiving Party is legally required to disclose by a
competent tribunal, provided that such Party has given timely notice to the disclosing Party of
such legal obligation, enabling the disclosing Party to seek a protective order or other appropriate
remedy, or waive compliance with appropriate provisions of this Article 4; or (v) are necessary
to disclose to Ford or required by Ford to disclose relating to the obligations by either Party
under the F ord Motor Company P5 52 Program; provided, however, Novelis shall notify Alcoa of
the necessary or required information and Alcoa will not unreasonably deny Novelis’ disclosure
to Ford of such informationl Notwithstanding the foregoing, Novelis shall not be prohibited
from using any elements of the methods, procedures, processes, or compositions that may be in
included in the Alcoa 951 Pretreatment Process to the extent that any such elements are general
industry knowledge or are fully anticipated and disclosed in Novelis’ internal technical and
commercial data, drawings, designs, or are demonstrated and documented operating experience
and techniques, processes and procedures Any such element must be demonstrated, in writing,
to have been in Novelis’ possession prior to its receipt from Alcoa; or, is now or hereafter
becomes available to the public without breach of the obligations under this Agreement by
Novelis. Notwithstanding the above, for operating experience and techniques, these elements

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must be demonstrated, by affidavit, to have been in Novelis’ possession prior to its receipt from
Alcoa; or, is now or hereafter becomes available to the public without breach of the obligations
under this Agreement by Novelis. Any affidavit relied upon may be subject to challenge by
Alcoa and will not, in and of itself, be considered dispositive These exceptions shall not be
interpreted as grounds for disregarding the obligations of confidentiality herein merely because
the Contidential Information in question is implied by, but not specifically disclosed in,
information falling within the pertinent exception, and Novelis shall have the burden of proving
the applicability of any exception

4.3 All obligations of confidentiality and nondisclosure with respect to Confidential
Information shall survive any termination of this Agreement Upon any expiration or termination
of this Agreement, each Party shall promptly return to the other Party all documents and other
tangible media containing Confidential Information, and all copies thereof

4.4 Novelis shall not analyze the 951 Chemicals for chemical composition or cause
the 951 Chemicals to be analyzed for chemical composition for purposes of reverse engineering
for commercial production Notwithstanding the foregoing, nothing in this Agreement shall
prohibit Novelis from analyzing the 951 Chemicals for production of coils utilizing the Alcoa
951 Pretreatment Process produced by Novelis and sold in support of the Ford Motor Company
P5 52 Program, including for production support, quality control, production efficiency, stability
of Novelis’ processes, or contamination ofNovelis’ systems v

4.5 During the duration of the Ford Motor Company P552 Program and for one year
thereafter, Novelis will not, nor will it permit its aftiliates, agents or contractors to directly, or
indirectly, initiate any contact for the purpose of employment or hire by or on behalf of Novelis
any officer or employee of Alcoa or any of its affiliates with technical9 operational or
developmental expertise regarding the 951 Chemicals or the Alcoa Technology and Know-How;
provided, however, that this clause shall not preclude Novelis from hiring any such officer or
employee who responds to any general solicitation placed by Novelis not specifically directed
towards employees of Alcoa or its affiliates

Article 5. Acknowledgement and Obligations.

5.1 Novelis acknowledges and agrees not to challenge the validity, status, and
ownership by Alcoa of the Alcoa Technology and Know-How.

Article 6. Representations and Warranties, Limitat.ions of Liabilit.y and Disclaimers.

6.1 Each Party hereto represents and warrants to the other that: (i) it has the full right
and power to enter into and fully perform this Agreement in accordance with its terms; (ii) this
Agreement constitutes a. legal, valid and binding agreement of such Party, enforceable against
such Party in accordance with its terms; (iii) it will comply with all applicable laws and
regulations in the exercise and performance of its rights and obligations under this Agreement;
and (iv) its execution, delivery and performance of this Agreement throughout its duration does
not require consent from any third party and will not violate (with the lapse of time or giving of
notice or both) rights granted by such Party to any third party or violate or otherwise interfere
with the provisions of any agreement to which such Party is a party or otherwise bound, preclude

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such Party from complying with the provisions herecf, or violate any applicable law or
regulation or judicial order. Alcoa represents and warrants that the 951 Chemicals and the Alcoa
Technology and Know-How have been shown to and Will conform to the performance
specifications for participation in the Ford Motor Company P552 Program at full production
volumes as will be demonstrated on the Alcoa Davenport Works Autornotive Treatment Line;
provided, however, that this representation and Warranty shall not apply to the extent any such
non-conformance relates directly to the Novelis aluminum coil alloy or deviations/excursions in
Novelis production processes unrelated to the 951 Chemicals and the Alcoa Technology and
Know-I-Iow. Alcoa shall use good faith efforts to ensure that Novelis’ use of the 951 Chemicals
and the Alcoa Technology and Know-How, when applied to Novelis‘ aluminum coil alloy, will
conform to the performance specifications for participation in the Fcrd Motor Company P552
Program. lf Novelis’ aluminum coil alloy does not conform to the performance specifications
for participation in the Ford Motor Company P552 Program, the Parties agree to` meet in good
faith to discuss adjustments to the annual lump sum licensing fees as described in Section 3.1.1.
Alcoa agrees to exercise good faith in supporting Novelis’ utilization of Alcoa Technology and
Know-How for Novelis’ successful participation in the Ford Motor Company P552 Program. `

6.2 Except as specifically set forth in Section 6.1 above, Alcoa, by this Agreement,
makes no warranties or guarantees, either express or implied, arising by law or otherwise with
regard the Alcoa Technology and Know-How. EXCEPT AS SPECIFICALLY SET FORTH IN
SECTION 6.1 ABOVE, THE ALCOA TECHNOLOGY AND KNOW-HOW IS PROVIDED
“AS lS” AND ALCOA EXPRESSLY DISCLAIMS, AND WILL I-IAVE NO OBLIGATION
OR LIABILITY FROM THIS AGREEMENT WITH REGARD TO, WITHOUT LIMITATION,
TI~IE ALCOA TECHNOLOGY AND KNOW-HOW OR TI-IE USE THEREOF FOR ANY
(1) IMPLIED WARRANTY OF MERCHANTABILITY; (’Z) IMPLIED WARRANTY OF
FITNESS FOR A PARTICULAR PURPOSE; AND (3) ANY WARRANTY OF
NON-INFR[NGEMENT AND ANY WAKRANTY OF ANY OTHER TYPE. ANY
TECHNOLOGY AND KNOW-HOW OF NOVELIS DISCLOSED TO ALCOA PURSUANT
TO THIS AGREEMENT IS DISCLOSED “AS IS” AND NOVELIS EXPRESSLY
DISCLAIMS, AND WILL HAVE NO OBLIGATI()N OR LIABILITY FROM THIS
AGREEMENT WITH REGARD TO, WITHOUT LIMITATlON, ANY TECHNOLOGY AND
KNOW~HOW OF NOVELIS FOR ANY (l) IMPLIED WARRANTY OF
MERCI-IANTABILITY; (2) IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
PURPOSE; AND (3) ANY WARRANTY OF NON~.iNFR;INGEMENT AND ANY
WARRANTY OF ANY OTHER TYPE.

6.3 TO THE MAXIMUM EXTENT PERMITTED BY LAW, EACH PARTY
DISCL-AIMS AND SHALL HAVE NO OBLIGATION OR LIABILlTY TO THE OTHER
PARTY FOR ANY TYPE OF INDIRECT, INCIDENTAL, SPECIAL, EXEMPLARY,
PUNITIVE OR CONSEQUENTIAL DAMAGES ARISING OUT OF ANY BREACH OF
WARRANTY OR OTHERWISE UNDER THIS AGREEMENT (WHETHER IN CONTRACT,
TORT (lNCLUDlNG NEGLIGENC-E OR BREACH OF STATUTORY DUTY) OR
OTHERWISE) EVEN lF ADVlSED OF Tll"E POSSIBILITY OF SUCH DAMAGES,
WHETHER ARISING UNDER THEORY OF CONTRACT, TORT (INCLUDING
NEGLIGENCE), STRICT LIABILITY OR OTHERWISE. IN NO EVENT WILL EITHER
PARTY’S MAXIMUl\/I LIABILITY HEREUNDER EXCEED TI~IE TOTAL PAYMENTS

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PAID BY NOVELIS TO ALCOA IN CONNECTION WITH THIS AGREEMENT IN THE
TWELVE MONTHS IMMEDIATELY PRIOR TO ANY CLAIM.

Article 7 . Indemnification.

7.l Novelis will indemnify and hold Alcoa harmless from and against any and all
claims, damages, liabilities, losses, costs and expenses_, including, without limitation, legal
expenses and reasonable counsel fees, arising out of or incidental to or in any way resulting
from: (i) a breach of Novelis’ representations and warranties under this Agreement; (ii) any
customer’s use of coils utilizing the Alcoa 951 Pretreatment Process produced by Novelis; (iii)
Novelis’ unauthorized usc and/or commercialization of the coils utilizing the Alcoa 951
Pretreatment Process; and (iv) any personal injury, illness, death or property damage that arises
out of or relates to the sale of coils utilizing the Alcoa 951 Pretrcatment Process by Novelis,
improper business practices, or Novelis’ negligent or willful acts or omissions or those of
Novelis’ directors, officers, employees, or agents.

7.2 Alcoa will indemnify and hold Novelis harmless from and against any and all
claims, damages, liabilities, losses, costs and expenses, including, without limitation, legal
expenses and reasonable counsel fees, arising out of or incidental to or in any way resulting
from: (i) a breach of Alcoa’s representations and warranties under this Agreement; (ii) Alcoa’s
unauthorized use and/or commercialization of the Novelis Confidential Inf`ormation; (iii) any
personal injury, illness, death or property damage that arises out of or relates to the sale of coils
utilizing the Alcoa 951 Pretrcatment Process by a party other than Novelis, improper business
practices, or Alcoa’s negligent or willful acts or omissions or those of Alcoa’s directors, officers,
employees_, or agents; and (iv) a claim by a third party that theAlcoa Technology and Know-
How, the 95l Chemicals or coils utilizing the Alcoa 951 Pretreatment Process infringe the
intellectual property rights of such third party.

7.3 Promptly after receipt by a Party of a notice of commencement of any action
involving the subject matter of the foregoing indemnity provisions under Sections 7.1 or 7.2,
such Party will promptly notify the other Party of the commencement thereof Upon proper
notification, the indemnifying Party shall have the right, but not the obligation, to control the
defense against any such third party claims, utilizing counsel chosen in the indemnifying Party’s
discretion, provided that the indemnified Party may participate in any such defense, at its own
expense, by separate counsel of its choice, and further provided that any such participation shall
not limit the indemnifying Party’s right to control such defense Notwithstanding anything
contained in the foregoing sentence to the contrary, the indemnifying Party (i) shall not be
entitled to have sole control over any third party claim that seeks an order, injunction or other
equitable relief against the indemnified Party; or any action that is the subject of such third party
indemnification claim in which both Parties are named as parties and either Party determines
with advice of counsel that there may be one or more legal defenses available to it that are
different from or additional to those available to the indemnifying Party or that a conflict of
interest between the Parties may exist in respect of such action, and (ii) shall obtain the prior
written approval of the indemnified Party before ceasing to defend against any third party
indemnification claim or entering into any settlement, adjustment cr compromise of such claim
involving injunctive or similar equitable relief being asserted against the indemnified Party. The
indemnified Party shall cooperate with the indemnifying Party in the provision of any such

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defense by providing to the indemnifying Paity all such information, assistance and authority as
may reasonably be requested by the indemnifying Party.

Article 8. Term and Termination.

8.1 Term. This Agreement shall commence upon the Eff`ective Date and continue
until the earlier of the termination of Novelis’ participation in the Ford Motor Company P552
Program or the date this Agreement is terminated by either Party in accordance with the terms of
this Article 8.

8.2 Termination for Breach. Either Party will be entitled to terminate this
Agreement by Written notice to the other Party in the event the other Party is in material breach
of any of its obligations hereunder and shall fail to remedy any such breach within thirty (30) '
days after notice thereof by the non-breaching Party.

8.3 Termination upon the Oecurrence of Certain Events. Either Party may
terminate this Agreement immediately upon notice to the other Party in the event that: (i) the
other Party files a petition in bankruptcy, reorganization or similar proceeding or is adjudicated a
bankrupt; (ii) a petition in bankruptcy is filed against the other Party and such petition is not
removed or resolved within thirty (30) days; (iii) the other Party becomes insolvent or makes an
assignment for the benefit of its creditors or an arrangement for its creditors pursuant to any
bankruptcy law; (iv) the other Party discontinues its business; or (v) a receiver is appointed for
the other Party or its business

8.4 Effcct of Termination or Expiration of this Agreement

8.4.1 Continued Payments. In the event of the expiration or termination of this
Agreement for any reason, Novelis shall make all payments due and accrued to Alcoa up and
until the effective date of termination of this Agreementl For the avoidance of doubt, Novelis
shall have an obligation to continue to pay royalties for any of its sales of coils utilizing the
Alcoa 951 Pretreatment Process produced by Novelis and sold for the Ford l\/iotor Company
P552 Program during the Sell-Off Period described in Section 8.5.2 (if applicable).

8.4.2 Disposal of Inventory. Within ten (10) days following the termination of
this Agreement for any reason whatsoever including the expiration of the term hereof, and on the
last day of each month during the disposal period set forth below, Novelis shall furnish to Alcoa
a certificate of Novelis listing its inventories of coils utilizing the Alcoa 951 Pretreatment
Process on hand and in process wherever situated Alcoa or Alcoa’s designee shall have the
right to conduct a physical inventory of said coils in Novelis’ possession or under Novelis’
control. Novelis may, for up to ninety (90) days after the effective date of termination (the “Sell-
()ft` Period”), sell all said coils which may be in inventory and not sold. If during the Sell~.Off
Period, Novelis fails timely to render any required accounting statements or to make all
payments when due, Novelis’ disposal rights hereunder shall immediately terminate without
notice.

8.4.3 Survival of Obligations; Return of Confidential Information.
Notwithstanding any expiration or tennination of this Agreement, Section 2.3.3, Articles 4, 5, 6,
and 7, this Secticn 8.5.3 and Article 9 shall survive and continue to be enforceable as set forth

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herein. No termination of this Agreement, in whole or in part, shall affect Alcoa’s rights to
royalties, reports, and the examination of Novelis’ books during the applicable Audit Period until
all required royalties have been paid. Except as needed to sell coils utilizing the Alcoa 951
Pretreatment Process produced by Novelis and sold for the Ford Motor Company P5 52 Program
during the Sell Off Period, upon any expiration or termination of this Agreement pursuant to
Article 8, Novelis shall promptly return to Alcoa all Confidential Information, and all copies
thereof Except as set forth herein for the duration of the Ford M.otor Company P552 Program,
this Agreement shall not be construed to and is not intended to competitiver disadvantage
Novelis or otherwise affect Novelis’ rights after the expiration of the Alcoa Patents.

Article 9. Miscellaneous.

9.l Govern'~ing Law; Venue. This Agreement shall be governed by and interpreted
in accordance with the laws of the Commonwealth of Pennsylvania without regard to its conflicts
of law principles The Parties agree that any suit or action arising out of this Agreement shall be
heard in a court of competent jurisdiction located in Allegheny County, Pennsylvania to which
jurisdiction the Parties hereby exclusively submit.

9.2 Waivel‘. The Waiver by any Party of a breach or a default of any provision of this
Agreement by any other Party shall not be construed as a waiver of any succeeding breach of the
same or any other provision, nor shall any delay or omission on the part of a Party to exercise or
avail itself of any right, power or privilege that it has or may have hereunder operate as a waiver
of any right, power cr privilege by such Party.

9.3 Waiver of Jury Trial. TO THE FULLEST EXTENT PERl\/IITTED BY
APPLICABLE LAW EACH PARTY HEREBY IRREVOCABLY WAIVE-S ALL RIGHT OF
TRIAL BY JURY lN ANY ACTION, PROCEEDING OR COUNTERCLAIM ARISING OUT~
OF OR IN CONNECTION WITH THIS AGREEMENT OR ANY MATTER ARISING
HEREUNDER.

9.4 Notices. Any notice or other communication under this Agreement shall be
effective when delivered in person or, if mailed, when deposited in the mail by registered or
certified mail, return receipt requested or, if transmitted by facsimile, When faxed by means
confirming receipt, addressed to the other Party as follows:

lf to Alcoa: If to Novelis: .

Ainsworth (Andy) B. Mills General Counse.l, Novelis lnc.
5600 N. River Road, Suite 620 3560 Lenox Road, Suite 2000
Rosemont, IL 600l8 Atlanta, GA 30326

Tel.: 202-841-2359 Tel.: 404~760-4070

Fax: 563-459-12]0 Fax: 404-760-0137

9.5 No Agency. Nothing herein shall be deemed to constitute Alcoa, on the one
hand, or Novelis, on the other hand, as the agent or representative of the other, or as joint
venturers or partners for any purpose Neither Alcoa, on the one hand, nor Novelis, on the other
hand, shall be responsible for the acts or omissions of the other. No Party will have authority to

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speak for, represent or obligate the other Party in any Way without prior written authority from
such other Party.

9.6 Export Control and Requirements.

9.6.1 Novelis agrees to comply with all applicable U.S. export control laws and
regulations, specifically including, but not limited to, the requirements of the Arms Export
Control Act, 22 U.S.C. 2751-2794, including the International Traffic in Arms Regulation
(ITAR), 22 C.F.R. 120 et seq.; and the Export Administration Act, 50 U.S.C. 2401-2420,
including the Export Administration Regulations, 15 C. F. R. 730~ 774; including the requirement
for obtaining any export license or agr',eement if applicable Without limiting the foregoing,
Novelis agrees that it will not transfer or disclose any information it receives from Alcoa that
constitutes an export controlled item, data, or service to foreign persons employed by or
associated with, or under contract to Novelis or Novelis’ suppliers, without the authority of an
export license, agreement, or applicable exemption or exception

9. 6. 2 Novelis shall immediately notify Alcoa if it is, or becomes, listed in any
Denied Parties List or if Novelis’ export privileges are otherwise denied, suspended or revoked
in whole or in part by any U. S. Government entity 01 agency.

9.7 Entire Agreement This Agreement contains the full understanding of the
Parties with respect to the subject'lnatter hereof and supersedes all prior understandings and
writings relating thereto No waiver, alteration or modification of any of the provisions hereof
shall be binding unless made in writing and signed by the Parties.

9.8 Headings. The headings contained in this Agreement are for convenience of
reference only and shall not be considered in construing this Agreement

9.9 Severability. In the event that any provision of this Agreement is held by a court
of competent jurisdiction to be unenforceable because it is invalid or in conflict with any law of
any relevant jurisdiction, the validity of the remaining provisions shall not be affected and the
invalid provision shall be severed here from.

9.10 Assignment. Neither Party may assign or otherwise transfer this Agreement or
any of its rights or obligations hereunder Without obtaining the other Party’s prior written
consent, which may not be unreasonably withheld, conditioned, or delayed Any purported
assignment or other transfer without such consent shall be void. The Party assigning or
otherwise transferring this Agreement or its rights or obligations hereunder shall continue to be
liable for all of its obligations under this Agreement following any such assignment or other
transfer, unless the Parties agree in writing otherwise Notwithstanding the foregoing, nothing in
this Paragraph 9. 10 shall restrict or interfere in any way with Alcoa’s 951 Commercialization as
per Paragraph 3.5.1.

9.11 Force Majeure. If, as a result of unforeseeable circiunstances, acts (including a
delay or failure to act) of any governmental authority (de jure or de facto), war (declared 01
undeclared), riot revolution, fnes, floods strikes, labor disputes, sabotage, epidemics, and
failures of electrical, telecommunications or computer facilities or networks, or similar causes
beyond the reasonable control of a Party (a “Force Majeure”), such Pa1ty is unable to perform

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or is materially delayed in the performance of any of its obligations hereunder, such failure or
delay shall not be deemed a breach of this Agreement, but such obligations shall remain in full
force and effect and shall be performed or satisfied pursuant to this Agreement, as soon as
legally and practically possible after the termination of the Force Majeure.

9.12 Counterparts. ‘This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original but all of such together shall constitute one and the
same instrument

IN WITNESS WHEREOF, each Party has caused this Agreement to be executed in its
name by its properly and duly authorized officer or representative as of the date first above
written.

Alcoa Inc. Novelis lnc.

      

Narne; Mark J. Vrablec Name: /ZM!Q .;_S;`)MLTE__

 

 

Date: /é /4$:§ Z@/Z’

Datcl_ August 20, 2012

 

 

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ATTACHMENT A
ALCOA TECHNOLOGY AND KNOW-HOW

As defined in Section 1.1 above, the Alcoa Technology and Know-How are outlined as follows

below:

U.S. Patent 5,463,804

U.S. Patent 6,167,609

Alcoa Material Data Safety Sheet for Alcoa 951 Pretreatment Bath
Total concentration of all components in Alcoa 951 Pretreatment Bath
Relative ratios of all components in Alcoa 951 Pretreatment Bath
Optimized operating conditions for Alcoa 951 Pretreatment Bath
Process control procedures for Alcoa 951 Pretreatment Bath

Product quality control procedures and Process FMEA (PFMEA) for Alcoa 951
pretreated aluminum

Acceptability ranges for parameters associated with product quality control procedures
for 951 pretreated aluminum

Performance data associated With adhesive bonding with Alcoa 951 pretreatment
(including data from batch, small scale and full scale pretreatment trials)

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l
Flrst,_Amendln'cnt `t_o_:

Technology Acce_ss~ & 'LicenseiAgree_meli_t¢

This First Ain'endinent (“Amen`clm`cnt"’_) effective as" oi`: A_ugu._S_t_'_-`~_‘§QJ 2013 (the"“E'ffectlve
'Date”) to the Technology Access and Lioense' Agreement, is made, by and between Alcoa lnc., a
Pennsylvania corporation through its Alcoa Technical' Center,. with offices located at 'IOO
Technical Center 'Drive', Alcoa Center, Penn`sylvania. 15069, and its Global A'"ero'spac'e,
Tronsportation, I'ndustrial and ;S_pecialty .P.roduc_ts business unit, with offices located at '4,87.'9
State Stree`t, _Bettendor`f, IA 52722? U~SA (Colle.otively, ‘?`Alcjoa”), and Novelis In"c,, a Canadian
corporation with offices at 35'6”0 L'eno_x Rojad, At_lanta, _Georgia 34032'6 USA (“Novelis”). .Alco'a
and'.N oveh"s being individually or collectively hereinafter referred to as “P_arty’* or""‘fl_:’arties_.”

REC-ITALS

WHEREAS, the Parti`es entered into the Technology Access and Licens.é Agreement (the
“Agre ement’-’) effective August 15', 20:12`;' and

'WHERE'A"S_,; the Paities desire~to enter into this Amer`i_dment to the Agreement in order
to revise certain obligations ofnon'-'analysis in order `t’o exchange sample coils of`aluminnrn sheet
that was originally not expected to ocenr;nnder'the_no;n~analysis;_p'r»_eyi'sions established bjy tile
Parti`es under the Agreement

NUW ‘THEREFORE, in consideration o?f.’theinutnal covenants and promises contained
in this Agreement and other good and valuable consideration the receipt and sufficiency of
which are hereby acknowledged and intending ‘to' be legally bound hereby, the Parties~ agree to
amend the Agreement as follows:

l. Ai:`ter S-cetion 1.14, insert the-following new'text:

1.15 “Alco'a Samp_le_ C‘O'il's""rneans ~'cofils of,.;jaluininu'in_ sheet provided to Novelis to
. test the Alcoa 951 pretreatment process o`n the.Novelis Oswego productionlinei
2. Aner'.Nejw _s'.ectlon 1115 'ab'ove',_ insert the fellowing_:new ..text:-
l.1`_6 “Novelis S_ample= iCo`il_s” means coils-of aluminum sheet provided to Alcoa to
t'e_sttho Alcoa-951 Pretreatment.Pro ces's on the Alcoa Davenport production~line;~

-3_. A_fter Sec.ti’on' 4.5",- ins`ert`the: following new texts

4.6 Dari-ngthc tenn-of this agreement Alcoa Will provide sample cci'lsjto_-Novelis and
Novelis Wl-iU prcvi;de-S;€llnplc coils to Alcoa for=the=purpose of benchmarl<ing' the
Alcoa 95`1.PretreatmentfPi'ocess' at the Novelis- O`swcgo and..Alcoa.-Daven_port
production facilities-, rand to confirm that the newp'rocesses, in the event of'a».li_ne shut
down, are suitable'telnporary supply 'bacl<+up options for the other coinpany,:.relative.
to surface performance Novelis,will not analyze Alcoa Sample Coils_, and_Alcoa will
not analyze Novelis Sample Coils to' determine inetallur_gyl, temp_er, surface`.-qualit_y"or_ -
other properties not specifically related to the Alcoa 951 pretreatment process The

 

 

 

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.First Amcnd`mcnt to
Technology Acccss. '& License Agreement
Page. 2 ofB'

type and quantity of the samples shall .be at the sole discretion of each party providing
coils,sar'nples are provided for experimental purposes only. Both parties agree to
disclose to the other the testing data_'and.`_results of all tests involving the camille coils.`
The results shall constitute Contidential Infonnation of 'the_ party that provides the
results, and both parties agree to maintain and protect the conli‘dcntial.nature of the
results in accordance with the`te_nns.'set forth lier'e'in_'. 'On_c`e all testing is cor‘r_ir')ietejd~'j
Novelis will ensure the scrap and melting-of the Alcoa .Coil Sainples and Alcoa will
ensure the..scrap and inciting of the Novelis Goi'l S'ainple's.

4. Counterpar`ts, '_I`his Arnendment to the Agreement may be executed in any~`.nuinber~
of counterparts, each of Which. shall bej deemed an original but all of-su_ch.t_ogether shall
constitute one and the same instrument

5.. The-P'arti'es make no other amendments to the Agreement-

`IN WIT:N:ESS_ \"\"-.1iltl'fEl'i?*E-Oll",l each.Parl'fy has caused this Agreement to bjc executed'i'ni its
name by its properly and dulyv authorized officer or representative-l as of ther date .'iirst above
written

 

 

Alc¢ a Inc. Novelis lnc.
Bz/= _ M&WE%ML- , BY= M/ M,.
.Name: Mark J~ Vi°abl€-C Naine: 507.@¢2§"§/_' JCJ°VL?"%

 

Date: O`.cto.b'er_ 7', 2013 Date'; §§ /q_&w ,¢QU[¢(B

 

